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Case1:11-cv-01611-MSK-CBS
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                                    94-3 Filed 08/31/12 USDC
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                                                             Colorado Page
                                                                      Page11of
                                                                            of55


      IS&S: Policy for
      eMail Retention, Archiving, and Quota Management


      Purpose:
      This Policy is designed to enable the Company to safely retain those specific documents that
      need to be retained, including for legal, business or regulatory reasons, while at the same time
      providing for the automated deletion of email messages and attachments that do not need to be
      saved. Eliminating documents that are stored unnecessarily, sometimes indefinitely, significantly
      reduces the storage space used, thus eliminating unnecessary expense, improving system
      performance, and making it easier to locate records that have been retained.

      Glossary of Terms:
          All terms are defined in relation to email usage for The Kroger Co.

              Automatic Purge – the process of automatically deleting emails that have not been
               placed in the “KeepIt” folder (or sub-folders).
              Email Archiving – the Microsoft Outlook process of moving email from a mail file to a
               separate archive file that resides only on the user’s computer.
              OWA – Outlook Web Access is used to access e-mail, calendars, contacts, tasks, and
               other mailbox content when access to the Microsoft Outlook desktop application is
               unavailable.
              KeepIt Folder – allows users to keep email messages that need to be retained.
               Automatic purging will NOT be performed on email in this folder (or subfolders). Email not
               moved into the KeepIt folder (or its subfolders) will be automatically purged once it has
               reached the retention period for email.
              Quota – the maximum permitted size of all email in a user’s email folders, including the
               KeepIt folder.
              Retention (or Retention Period) - the period of time that an email message may remain in
               a user’s email folders, if the message has not been placed in the “KeepIt” folder (or
               subfolders).
              Restoration – the process of retrieving email data from data backups of the email system.

      Background:
      The use of electronic mail (“email”) has proliferated to an extent where email messages stored on
      PCs are as common as those stored in file cabinets on paper. As such, the retention of these
      messages needs to follow standards similar to those used for paper documents. The retention of
      any communication for business reasons, either in paper or electronic medium, must be
      considered in light of the value, cost, and risks associated with the retention.

      It makes good business sense to keep some documents for a set period of time. For example,
      some materials provide an audit trail of many events, activities and processes that occur on a
      regular basis in a large enterprise. These materials can provide valuable insight into why
      something occurred, how the business responded, and what was learned from the incident. This
      information can also be retained to serve as a reminder of how to prevent a future incident or how
      to quickly resolve a similar one. Other documents must be retained by law or regulatory
      requirement.

      There can also be a downside to retaining unnecessary information. In the course of litigation,
      particularly in the stage known as “discovery,” a business may be required to produce all
      information and communications pertaining to a very broad subject or incident. When documents
      are stored in different locations and are commingled with a variety of unrelated documents,
      searches required by discovery can be costly and difficult.

      The information below summarizes the requirements established by the Company for
      management and storage of email messages and other email files.


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      {00935747 / 1}W:\wdox\clients\6966\0002\00935747.DOC                                    Page 1 of 5
Case
Case1:11-cv-01611-MSK-CBS
     1:11-cv-01611-MSK-CBS Document
                           Document108-3 Filed08/17/12
                                    94-3 Filed 08/31/12 USDC
                                                        USDCColorado
                                                             Colorado Page
                                                                      Page22of
                                                                            of55


      IS&S: Policy for
      eMail Retention, Archiving, and Quota Management


      Requirements for retention of all documents, including email, are covered in the Kroger Records
      Management and Retention Policy. That Policy outlines document management guidelines and
      retention requirements that also apply to all email messages. IS&S has developed its standards
      for retention based upon the Records Management and Retention Policy. Email messages are
      stored in user-managed folders and, unless they are required to be retained beyond 30 days
      pursuant to the Records Management and Retention Policy, should be retained no longer than 30
      days. This means that all individuals utilizing email technology are responsible for
      regularly reviewing their email messages to determine if there is a business need or other
      requirement under the Records Management and Retention Policy for retention of the
      email before purging that email or allowing it to be automatically purged. Email messages
      older than 30 days may not remain on any Kroger email server or network shared resource
      except in the KeepIt folder. IS&S is implementing controls on the mail servers and network that
      will monitor email folders and automatically delete any email message not in the KeepIt folder
      found to be 31 days or older.

      Archiving messages on each user’s local PC is not permitted. Copying and pasting emails to your
      local PC’s hard drive is also not permitted. Storing emails only on your local PC’s hard drive
      presents security risks (including loss of archived data if a user’s computer crashes) and can
      make locating documents for discovery difficult and costly.

      An email storage limit for each user, or quota, will help ensure a cost effective, high-performing
      email system for all users. Five tiers have been established providing different quotas for varying
      business needs. Once the quota has been reached, the user will be prevented from sending any
      new messages until his or her email account is reduced below the quota. If a user has email
      messages in excess of their designated quota that he or she is required to retain in order to
      comply with the Records Management and Retention Policy, IS&S will assist that user in using
      alternative means to save those emails that need to be retained.
           Role             Client       Quota

          Premier +           Outlook      1GB

          Premier             Outlook      500MB

          Power               Outlook      500MB

          Advanced +          OWA          200MB

          Advanced            OWA          100MB




      Scope:
      Company wide (including divisions and subsidiaries). This IS&S Policy has been implemented in
      connection with the Records Management and Retention Policy. Compliance with this Policy
      requires an understanding of and compliance with the Records Management and Retention
      Policy.

      This Policy specifically applies to all Company email messages and attachments. This Policy
      also applies to all Company email platforms (including but not limited to Microsoft Outlook, OWA,
      Thunderbird, and all legacy email systems), accounts, and users accessing, hosting, sending or
      receiving Company email.




      {00935747 / 1}W:\wdox\clients\6966\0002\00935747.DOC                                     Page 2 of 5
Case
Case1:11-cv-01611-MSK-CBS
     1:11-cv-01611-MSK-CBS Document
                           Document108-3 Filed08/17/12
                                    94-3 Filed 08/31/12 USDC
                                                        USDCColorado
                                                             Colorado Page
                                                                      Page33of
                                                                            of55


      IS&S: Policy for
      eMail Retention, Archiving, and Quota Management

      Effective Date:
      This Policy is effective immediately and supersedes any previous Policy.

      Policy Owner:
      All questions concerning this Policy should be directed to the Manager of Collaboration Services
      (CS). All questions concerning the Records Management and Retention Policy should be
      directed to the Corporate Controller or General Counsel. All questions concerning the Record
      Retention Schedules should be directed to the head of the Department responsible for
      administration of the Record Retention Schedule.

      Violation of the Policy:
      IS&S understands that the use and storage of email is constantly changing. All users have the
      responsibility to actively manage their email accounts and work within the guidelines of this
      Policy. IS&S will monitor compliance with the standards established by this Policy and, when
      necessary, contact users who are in violation of this Policy. IS&S reserves the right to
      temporarily suspend any email account that remains in violation of this Policy. When suspended,
      a user will lose the ability to send or reply to email messages. Any employee violating this Policy
      will be subject to disciplinary action, up to and including termination.


      Statement of Policy:

          1. eMail Document Retention and Limits (as of 3/21/2012)

                   a. Employees using Microsoft Outlook or OWA email accounts may NOT retain
                      email messages outside of the “KeepIt” folder for longer than 30 days. Email
                      messages 31 days or older will be automatically deleted.

                   b. Calendar entries will be automatically purged 365 days from the end date of the
                      entry. If the meeting is a reoccurring meeting, it will be removed from the
                      calendar 365 days after the last meeting date.

                   c.   Email older than 30 days may not be saved to hand-held computers, PDAs, or
                        like devices.

                   d. Tasks will be automatically purged 365 days from the end date of the entry.

                   e. The “Deleted Items” folder has a three day retention policy. A message placed in
                      “Deleted Items” will be automatically purged from the folder after three days.
                      These messages will be recoverable for up to 28 days (after it has been removed
                      from the folder).

                   f.   There is no retention period on Contacts. Your Contacts will not be automatically
                        purged from your mail file.

                   g. Microsoft Outlook users who need to retain email documents in excess of the
                      quota pursuant to the Records Management and Retention Policy should contact
                      the Collaboration Services Manager for assistance in retaining that information.

          2. eMail Document Archiving

               Email users are not permitted to:



      {00935747 / 1}W:\wdox\clients\6966\0002\00935747.DOC                                     Page 3 of 5
Case
Case1:11-cv-01611-MSK-CBS
     1:11-cv-01611-MSK-CBS Document
                           Document108-3 Filed08/17/12
                                    94-3 Filed 08/31/12 USDC
                                                        USDCColorado
                                                             Colorado Page
                                                                      Page44of
                                                                            of55


      IS&S: Policy for
      eMail Retention, Archiving, and Quota Management

                   a. Save email to their PC hard drive.

                   b. Save email on a network or other shared storage device (except for the “KeepIt”
                      folder and its subfolders).

                   c.   Back up email to electronic media (e.g. local tape backup device or CD burner
                        provided by local department).

               Prior to automatic deletions of messages older than 30 days, all emails required to be
               retained pursuant to the Records Management and Retention Policy must be moved to
               the special “KeepIt” folder by the user.

          3. eMail Quota

                   a. A quota is established for all email accounts. Once an associate’s email has
                      surpassed their quota, that associate will be prevented from sending or replying
                      to any new email messages until his or her email file size is reduced below the
                      quota.

                   b. All email messages, attachments, calendar entries, and To Do tasks require
                      storage space and will be counted when calculating the quota.

      Delegation:
      The Division Controller is responsible for monitoring compliance with this Policy at each division.

      Audit:
      IS&S and Corporate Audit are responsible for auditing the Company’s general compliance with
      this Policy. Each Division Controller is responsible for auditing the implementation of this Policy
      at his or her various operating unit.

      Exceptions:
      The Corporate Law Department may request exceptions to this policy based on pending litigation
      requirements. Exceptions will only be considered when related to pending litigation or significant
      business impact. Exception requests should be made to the Manager of Collaboration Services
      and will be subject to approval from the requestors Department Head and Corporate Counsel. In
      cases where an exception is granted, there may be additional fees and charges assessed to the
      requesting department.

      Review:
      IS&S, in coordination with the Corporate Controller and General Counsel, will review this Policy
      on a regular basis. Suggested changes should be submitted to the Manager of Collaboration
      Services.




      {00935747 / 1}W:\wdox\clients\6966\0002\00935747.DOC                                      Page 4 of 5
Case
Case1:11-cv-01611-MSK-CBS
     1:11-cv-01611-MSK-CBS Document
                           Document108-3 Filed08/17/12
                                    94-3 Filed 08/31/12 USDC
                                                        USDCColorado
                                                             Colorado Page
                                                                      Page55of
                                                                            of55


      IS&S: Policy for
      eMail Retention, Archiving, and Quota Management


      Date           Version      Name                   Comments


      3/22/04        1.00         Mark Spohn             General Release to the Enterprise

                                                         Updates on pages 3-5 to include references to
      4/14/04        1.01         Mark Spohn
                                                         email accounts in the Citrix environment.

                                                         Updates on page 1 to reflect current status of
      1/31/05        1.02         Frank Gallenstein      deployments throughout the enterprise, and page 3
                                                         to clarify reference to POP3 and IMAP accounts.

                                                         Updates reflect implementation of new quota and
      07/17/06       1.03         Frank Gallenstein      retention limits that are being enforced by the Mail-
                                                         attender software tool.
                                                         Updated reflect implementation of Microsoft
      02/02/10       1.04         Ryan Schreck
                                                         Outlook and the removal of Lotus Notes.

                                  Ann Wiesman            Updated the retention policy. Emails will now be
      05/17/2012     1.5
                                                         deleted in 30 days instead of 60.

                                  Ann Wiesman            Updated the eMail Document Retention and
      8/1/2012       1.5.1
                                                         Limits section to reflect the date of the policy




      {00935747 / 1}W:\wdox\clients\6966\0002\00935747.DOC                                         Page 5 of 5
